Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 1 of 15 Page ID #:1




  1   Gretchen M. Nelson, SBN #112566
      Email: gnelson@nflawfirm.com
  2
      Gabriel S. Barenfeld, SBN #224146
  3   Email: gbarenfeld@nflawfirm.com
      NELSON & FRAENKEL LLP
  4
      601 South Figueroa Street, Suite 2050
  5   Los Angeles, California 90017
      Telephone: (213) 622-6469
  6
      Facsimile: (213) 622-6019
  7
      Beth E. Terrell, SBN #178181
  8
      Email: bterrell@terrellmarshall.com
  9   TERRELL MARSHALL LAW GROUP PLLC
 10   936 North 34th Street, Suite 300
      Seattle, Washington 98103
 11   Telephone: (206) 816-6603
 12   Facsimile: (206) 319-5450

 13   [Additional Counsel Appear on Signature Page]
 14
      Attorneys for Plaintiff
 15
 16                     IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 17                              WESTERN DIVISION
 18   GWENDOLYN BECK, individually
 19   and on behalf of all others similarly       Case No.
      situated,
 20                                               CLASS ACTION COMPLAINT
 21                       Plaintiff,
                                                  Violations of Tex. Fin. Code &
 22         v.                                    18 U.S.C. § 1962 (RICO)
 23
      ZESTFINANCE, INC., BLUECHIP                 (JURY TRIAL DEMANDED)
 24
      FINANCIAL, and DOUGLAS
 25   MERRILL,
 26
                          Defendants.
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 2 of 15 Page ID #:2




  1
  2         Plaintiff Gwendolyn Beck (“Plaintiff”), by and through her attorneys, on
  3   behalf of herself and all others similarly situated, brings the following class action
  4   Complaint against ZestFinance, Inc., BlueChip Financial, and Douglas Merrill
  5   (collectively, “Defendants”) for engaging in a scheme to make usurious loans in
  6   violation of Texas law and the laws of many other states.
  7                             GENERAL ALLEGATIONS
  8         1.     This is a case about a scheme to make online short-term loans
  9   (commonly called “payday loans”) that carry triple-digit interest rates, often
 10   exceeding 400%, and are illegal in many states, including Texas.
 11         2.     Payday loans often target vulnerable borrowers and, left unregulated,
 12   can economically devastate borrowers and their communities. Consumers often
 13   renew the loans or take out new loans when they are unable to pay their original
 14   loans off, creating a cycle of mounting debt.
 15         3.     In recent years, payday lenders have concocted various schemes to
 16   make high-interest loans over the internet while avoiding state usury laws.
 17         4.     In one scheme — the so-called “rent-a-bank” strategy — payday
 18   lenders convinced banks headquartered in states with high (or nonexistent) usury
 19   limits to form a lending venture in order to capitalize on the fact that the bank was
 20   obligated to comply only with the usury law of its home state, even for loans made
 21   elsewhere.
 22         5.     Federal banking regulators shut down these “rent-a-bank” schemes.
 23   Michael A. Stegman, Payday Lending, 21 JOURNAL OF ECONOMIC PERSPECTIVES
 24   169, 178-9 (2007) (describing rent-a-bank scheme and regulatory reaction).
 25         6.     Some payday lenders have since developed a new method to attempt to
 26   avoid state usury laws—the “rent-a-tribe” scheme.
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 3 of 15 Page ID #:3




  1         7.     In a rent-a-tribe scheme, the payday lender — which does most of its
  2   lending over the internet — affiliates with a Native American tribe to attempt to
  3   insulate itself from federal and state law by piggy-backing on the tribe’s sovereign
  4   legal status and its general immunity from suit under federal and state laws.
  5         8.     Like its predecessors, this scheme is doomed to fail, because even a
  6   cursory examination of the underlying relationship between the payday lender and
  7   the tribe demonstrates that the relationship is insufficient to permit the lender to avail
  8   itself of the tribe’s immunity.
  9         9.     Rent-a-tribe schemes are not designed to promote tribal business but
 10   instead are contrivances aimed at avoiding state usury law, with the vast majority of
 11   the revenues going to non-tribal entities.
 12         10.    In recent years, these rent-a-tribe schemes have come under increasing
 13   scrutiny from regulators, with one prominent perpetrator convicted and sentenced to
 14   16 years in prison related to federal racketeering and truth-in-lending laws.1
 15         11.    This case is about such a rent-a-tribe scheme. In this case, non-tribal
 16   entities ZestFinance and Douglas Merrill provided the capital, marketing,
 17   underwriting, and other resources for BlueChip Financial dba Spotloan
 18   (“BlueChip”), a purported tribal entity in North Dakota that makes usurious loans to
 19   Texas residents and to persons located throughout the United States.
 20         12.    Neither ZestFinance nor BlueChip are licensed by the Texas Office of
 21   Consumer Credit Commissioner, which regulates lenders that offer consumer loans
 22   with rates of interest greater than 10%. See https://occc.texas.gov/industry.
 23
 24
 25   1
        See The United States Attorney’s Office, Southern District of New York, Scott
 26   Tucker Sentenced To More than 16 Years In Prison For Running $3.5 Billion
      Unlawful     Internet   Payday     Lending     Enterprise    (Jan.  8,    2018),
 27   https://www.justice.gov/usao-sdny/pr/scott-tucker-sentenced-more-16-years-
 28   prison-running-35-billion-unlawful-internet-payday.
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 4 of 15 Page ID #:4




  1         13.     Nevertheless, Defendants have and continue to make, and collect on,
  2   usurious loans with Texas residents.
  3         14.     Plaintiff, on behalf of herself and the Texas Class set forth below, seeks
  4   to recover damages and penalties for the usurious interest and fees charged by
  5   Defendants to Texas residents.
  6         15.     Plaintiff also seeks to recover damages on behalf of herself and the
  7   RICO Class set forth below.
  8                                      THE PARTIES
  9         16.     Plaintiff Gwendolyn Beck is a natural person and a resident of Houston,
 10   Texas.
 11         17.     Defendant Douglas Merrill is a natural person residing in California.
 12         18.     Defendant ZestFinance, Inc. is a Delaware corporation, headquartered
 13   in Los Angeles, California.
 14         19.     Defendant BlueChip Financial dba Spotloan is purportedly a tribal
 15   corporation located in Belcourt, North Dakota, and incorporated under the laws of
 16   the Turtle Mountain Band of Chippewa Indians.
 17                             JURISDICTION AND VENUE
 18         20.     This Court has original jurisdiction over Plaintiff’s Racketeer
 19   Influenced and Corrupt Organizations (“RICO”) claims under 18 U.S.C. § 1962, and
 20   28 U.S.C. § 1331, and supplemental jurisdiction over Plaintiff’s state law claims
 21   under 28 U.S.C. § 1367.
 22         21.     This Court also has jurisdiction under the Class Action Fairness Act as
 23   Plaintiff is a citizen of Texas, and none of the Defendants are a resident of that state,
 24   the matter in controversy exceeds $5,000,000, and there are at least 100 members of
 25   each Class.
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 5 of 15 Page ID #:5




  1         22.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391. At least
  2   one Defendant resides in this District, and witnesses and documents relevant to this
  3   matter are located in this District.
  4                                   TEXAS USURY LAW
  5         23.      Subject to limited exceptions, the maximum rate of interest allowed in
  6   Texas is 10%. Tex. Fin. Code § 302.001.
  7         24.      Texas law requires persons issuing consumer loans to obtain a license.
  8   Tex. Fin. Code § 342.051. Licensees may exceed the 10% maximum interest rate
  9   for consumer loans not secured by real property, depending on the type of loan, and
 10   subject to calculations made by the Consumer Credit Commissioner. Id. § 342.201.
 11         25.      Lenders who charge more than 10% in interest in violation of Texas
 12   Financial Code are liable for the greater of (1) three times the amount of interest
 13   charged in excess of 10%, or (2) the lesser of $2,000, or 20% of the principal. Tex.
 14   Fin. Code § 305.001.
 15         26.      Additionally, if the interest charged and received is more than twice the
 16   permissible amount, the lender will be held liable for the principal amount, the
 17   interest, and any other charges or fees. Tex. Fin. Code § 305.002.
 18         27.      Defendants were never licensed to make loans to Texas consumers.
 19               DEFENDANTS’ SCHEME TO AVOIDE USURY LAWS
 20         28.      Defendants operate a rent-a-tribe scheme that charges up to 490%
 21   annual interest on short term loans. See www.spotloan.com/how-spot-loans-work.
 22         29.      In 2009, former Google Chief Information Officer Douglas Merrill
 23   founded ZestFinance, which was then known as ZestCash, and which is now known
 24   as Spotloan.
 25         30.      ZestFinance wants to “reinvent[] the process of giving loans” and “to
 26   apply Google-like math to reinvent how credit decisions are made.” See
 27   www.zestfinance.com/our-team.
 28
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 6 of 15 Page ID #:6




  1         31.    ZestCash, using its proprietary underwriting software, began making
  2   high-interest loans over the internet.
  3         32.    By mid-2012, ZestCash was rebranded as “Spotloan.”
  4         33.    In an effort to avoid state usury laws, in 2012, Merrill and ZestFinance
  5   affiliated with the Turtle Mountain Band of Chippewa Indians (the “Tribe”) located
  6   in Belcourt, North Dakota.
  7         34.    At the direction of Merrill and ZestFinance, a tribal entity, BlueChip
  8   Financial, was created to serve as a front to disguise ZestFinance and Merrill’s role
  9   in making usurious loans.
 10         35.    BlueChip immediately began making loans using the “Spotloan”
 11   tradename.
 12         36.    Under the scheme, loans are made in the name of “Spotloan c/o
 13   BlueChip Financial,” but ZestFinance and Merrill provide the infrastructure to
 14   market, fund, underwrite, and collect on the loans, including the underwriting
 15   software.
 16         37.    ZestFinance and Merrill have received significant financing from
 17   Victory Park Capital Advisors, a hedge fund that has funded other rent-a-tribe
 18   payday lending schemes.2
 19         38.    The primary lending and collection operations of BlueChip are not
 20   operated on tribal land or on tribal property. For example, payments on the loans are
 21   not made to BlueChip on tribal lands, but instead are sent to a PO Box located in
 22   Palatine, Illinois. Further, BlueChip’s CEO works in San Diego, California.
 23         39.    The Tribe has little or no control over how the loans are financed or
 24   underwritten. ZestFinance provides all of the underwriting services for the loans.
 25
 26
 27   2
         See www.foxbusiness.com/features/think-finance-bankruptcy-exposes-fallout-
 28   with-victory-park-capital.
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 7 of 15 Page ID #:7




  1         40.    The Tribe receives only about 1% of the profits from the lending
  2   activities while 99% of the profits go to ZestFinance and other non-tribal entities.
  3         41.    Despite not being operated or controlled by the Tribe, Defendants
  4   purport to represent to consumers that state laws designed to protect consumers from
  5   usurious loans do not apply to their loans from Defendants. For example,
  6   Defendants’ form loan agreements state that: “By signing this Loan Agreement, you
  7   agree that the laws of the Tribe will apply to the Loan Agreement, and understand
  8   that United States state law does not apply to the Loan Agreement in any way.”
  9         42.    This scheme has been very successful. Defendants have made over
 10   500,000 loans since 2012.
 11         43.    In 2016, BlueChip was ordered to cease and desist from lending in
 12   Illinois by the Illinois Department of Financial and Professional Regulation for not
 13   having a license to lend in Illinois.3
 14         44.    In 2017, the Washington Department of Financial Institutions issued a
 15   warning to consumers that BlueChip was not licensed in the state of Washington or
 16   registered to conduct business in Washington.4
 17                    ALLEGATIONS RELATING TO PLAINTIFF
 18         45.    On or around March 16, 2016, while living in Texas, Plaintiff took out
 19   a loan through www.spotloan.com.
 20         46.    The principal amount on the loan was $400.00, and the interest rate was
 21   450%. The loan required eight (8) payments of about $140.68. Plaintiff paid the loan
 22   off by November 1, 2016, paying a total of $1,116.23.
 23         47.    In or around August 2017, while living in Texas, Plaintiff took out a
 24   second loan through www.spotloan.com.
 25
 26
      3
 27   4
       See www.idfpr.com/DFI/CCD/Discipline/BluechipFinancialCDOrder.pdf.
       See www.dfi.wa.gov/consumer/alerts/bluechip-financial-not-licensed-
 28   washington.
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 8 of 15 Page ID #:8




  1         48.      The principal amount on the loan was $600.00, and the interest rate was
  2   in excess of 450%. Plaintiff settled the loan in August 2018, having paid a total of
  3   $2,884.45 by that date.
  4         49.      As part of both loan applications, Plaintiff provided her Texas address.
  5                                 CLASS ALLEGATIONS
  6         50.      Plaintiff asserts her claims individually and on behalf of the proposed
  7   Texas Class defined as follows:
  8
            All Texas residents from whom Defendants collected or attempted to
  9         collect loans and/or who engaged in a loan transaction with Defendants
 10         in the four years preceding the filing of this complaint to the date that
            the class list is created.
 11
 12         53.      Plaintiff asserts her claims on behalf of the proposed RICO Class
 13   defined as follows:
 14
 15         All United States residents from whom Defendants collected or
            attempted to collect loans and/or who engaged in a loan transaction with
 16         Defendants in the four years preceding the filing of this complaint to
 17         the date that the class list is created.

 18
            54.      At this time, Plaintiff does not know the exact number of members of
 19
      the Classes, however, given the volume of Defendants’ business, there are likely
 20
      thousands of members of each Class. Thus, the Classes are so numerous that joinder
 21
      of all members is impracticable.
 22
            55.      There are numerous common questions of law and fact common to
 23
      Plaintiff and the members of the Classes. These questions include, but are not limited
 24
      to, the following:
 25
                  (a) Whether Defendants violated Texas usury laws;
 26
                  (b) Whether Defendants are protected by tribal sovereign immunity;
 27
                  (c) Whether Defendants engaged in unfair or deceptive acts or practices;
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 9 of 15 Page ID #:9




  1               (d) Whether Defendants’ unfair or deceptive acts or practices affected the
  2                  public interest;
  3               (e) Whether Defendants’ unfair or deceptive acts or practices caused injury
  4                  to property;
  5               (f) Whether Defendants violated RICO by charging interest rates more
  6                  than twice the legal limit under state law;
  7               (g) The proper measure and amount of damages for the Classes.
  8         51.      Plaintiff’s claims are typical of the claims of the Classes. Plaintiff, like
  9   members of the Classes, took out usurious loans from Defendants. Thus, Plaintiff’s
 10   claims, like the claims of the Classes, arise out of the same common practices of
 11   conduct by Defendants and are based on the same legal and remedial theories.
 12         52.      Plaintiff will fairly and adequately protect the interests of the Classes.
 13   Plaintiff has competent and capable attorneys who are experienced trial lawyers with
 14   significant experience litigating complex class actions. Plaintiff and her counsel are
 15   committed to prosecuting this action vigorously on behalf of the Classes and have
 16   the financial resources to do so. Neither Plaintiff nor her counsel have interests that
 17   conflict with the Classes.
 18         53.      The Classes meet the requirements for certification to obtain injunctive
 19   or equitable relief under Fed. R. Civ. P. 23(b)(2), as Defendants have acted or
 20   refused to act on grounds generally applicable to the Classes, thereby making
 21   appropriate final injunctive or equitable relief with respect to the Classes as a whole.
 22   Prosecution of separate actions by individual members of the Classes would create
 23   a risk of inconsistent or varying adjudications with respect to individual members
 24   of the Classes that would establish incompatible standards of conduct for
 25   Defendants.
 26         54.      The Classes meet the requirements for certification to seek monetary
 27   relief under Fed. R. Civ. P. 23(b)(3), as the questions of law or fact common to class
 28
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      CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 10 of 15 Page ID #:10




   1   members predominate over questions affecting only individual members, and a class
   2   action is superior to other available methods for fairly and efficiently adjudicating
   3   the controversy. Additionally, individual actions may be dispositive of the interests
   4   of members of the Classes even though certain members of the Classes are not
   5   parties to such actions. Further, a class action is superior to other available methods
   6   for the fair and efficient adjudication of the controversy, for at least the following
   7   reasons:
   8               (a) Absent a class action, class members as a practical matter, will be
   9                  unable to obtain redress; Defendants’ violations will continue without
  10                  remedy; and additional consumers will be harmed.
  11               (b) It would be a substantial hardship for most individual members of the
  12                  Classes if they were forced to prosecute individual actions.
  13               (c) A class action will permit an orderly and expeditious administration of
  14                  class claims and foster economies of time, effort, and expense.
  15               (d) The lawsuit presents no difficulties that would impede its management
  16                  by the Court as a class action.
  17               (e) Defendants have acted on grounds generally applicable to class
  18                  members, making class-wide relief appropriate.
  19
                                            COUNT I
  20                     Violation of RICO, 18 U.S.C. §§ 1962(c) & (d)
  21                    Asserted on behalf of Plaintiff and the RICO Class
             55.      Plaintiff realleges and incorporates by reference each and every
  22
       allegation set forth in the preceding paragraphs.
  23
             56.      Each Defendant is a “person” as that term is defined in 18 U.S.C. §
  24
       1964(3).
  25
             57.      The Enterprise, consisting of each named Defendant and the unnamed
  26
       officers, executives, and other employees of BlueChip and ZestFinance, are in fact
  27
       an “enterprise” as that term is defined in 18 U.S.C. § 1961(4), associated for the
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       CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 11 of 15 Page ID #:11




   1   common purpose of profiting off of the collection on unlawful debt by offering and
   2   collecting on loans to consumers throughout the United States through the online
   3   lender Spotloan.
   4           58.   The Enterprise had an ongoing organization with an ascertainable
   5   structure, and functioned as a continuing unit with separate roles and
   6   responsibilities.
   7           59.   Defendants violated § 1962(c) of RICO by participating, directly or
   8   indirectly, in the conduct of the Enterprise’s affairs in the collection of unlawful
   9   debt.
  10           60.   RICO defines “unlawful debt” as a debt which was incurred in
  11   connection with “the business of lending money or a thing of value at a rate usurious
  12   under State or Federal law, where the usurious rate is at least twice the enforceable
  13   rate.” 18 U.S.C. § 1961(6).
  14           61.   All of the loans made to Texas residents and collected by Defendants
  15   included an interest rate far in excess of twice the enforceable rate in Texas. Further,
  16   Defendants’ loans to RICO Class members included interest rates in excess of twice
  17   the enforceable rate under other applicable states’ laws.
  18           62.   Defendants also violated 18 U.S.C. § 1962(d) by conspiring to use the
  19   Enterprise to collect unlawful debt. Each Defendant knowingly agreed to participate
  20   in the scheme alleged herein that allowed the Enterprise to make and collect
  21   unlawful debt at more than twice the lawful rate of interest under state usury laws.
  22           63.   Plaintiff and the RICO Class members were injured as a result of
  23   Defendants’ violations of 18 U.S.C. § 1962(c) by, among other things, the payment
  24   of unlawful and usurious rates of interest on loans made by the Enterprise.
  25           64.   This conduct began sometime in 2012, continues to date, and will be
  26   repeated again and again in the future, to the detriment of Texas consumers, and
  27   consumers nationwide.
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       CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 12 of 15 Page ID #:12




   1         65.    Accordingly, Defendants are jointly and severally liable to Plaintiff and
   2   the RICO Class for their actual damages, treble damages, costs, and attorneys’ fees
   3   pursuant to 18 U.S.C. § 1964(c).
   4
                                          COUNT II
   5                            Violations of Texas Usury Law
   6                      Asserted on behalf of Plaintiff and the Texas Class
             66.    Plaintiff realleges and incorporates by reference each and every
   7
       allegation set forth in the preceding paragraphs.
   8
             67.    Under Texas law, “[a] greater rate of interest than 10 percent a year is
   9
       usurious unless otherwise provided by law.” Tex. Fin. Code § 302.001(b).
  10
             68.    A person who makes consumer loans and charges interest at a rate
  11
       higher than 10% is required to hold a license. Tex. Fin. Code §§ 342.005, .051.
  12
             69.    All of the loans made to Plaintiff and the Texas Class members were
  13
       well in excess of the 10% maximum rate allowed under Texas law.
  14
             70.    At no time were Defendants licensed to make consumer loans or to
  15
       collect or receive payments on consumer loans in the state of Texas.
  16
             71.    Defendants’ conduct was not the result of an accidental and bona fide
  17
       error but instead was a deliberate, willful, and intentional scheme to circumvent
  18
       Texas law, and to collect interest at rates well in excess of that allowed by the law.
  19
             72.    Accordingly, Plaintiff and the Texas Class members are entitled to the
  20
       greater of (1) three times the interest charged in excess of 10%, or (2) the lesser of
  21
       $2,000 or 20% of the principal. Tex. Fin. Code § 305.001.
  22
             73.    Additionally, because Defendants charged Plaintiff and the Texas
  23
       Class members interest at a rate twice the amount authorized by Texas law, Plaintiff
  24
       and the Texas Class members are also entitled to recover the principal amount of the
  25
       loan, interest, and any other charges or fees. Tex. Fin. Code § 305.002.
  26
             74.    Alternatively, even if Defendants could take advantage of the higher
  27
       interest rates permitted under Tex. Fin. Code § 342, et seq., Defendants charged
  28
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       CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 13 of 15 Page ID #:13




   1   Plaintiff and the Texas Class members interest in excess of the amount authorized
   2   by that law.
   3          75.      Accordingly, Plaintiff and the Texas Class members are entitled to
   4   twice the amount of interest Defendants charged or received, and reasonable
   5   attorneys’ fees. Tex. Fin. Code § 349.001(a). Additionally, because Defendants
   6   charged Plaintiff and the Texas Class members interest at a rate twice the amount
   7   authorized by Texas law, Plaintiff and the Texas Class members are entitled to the
   8   principal balance in addition to interest. Tex. Fin. Code § 349.002.
   9
                                            COUNT III
  10                                     Unjust Enrichment
  11                         Asserted on behalf of Plaintiff and the Texas Class
              76.      Plaintiff realleges and incorporates by reference each and every
  12
       allegation set forth in the preceding paragraphs.
  13
              77.      To the detriment of Plaintiff and the Texas Class members, Defendants
  14
       have been, and continue to be, unjustly enriched as a result of charging and
  15
       collecting illegal, usurious interest rates.
  16
              78.      As between the parties, it would be unjust for Defendants to retain the
  17
       benefits attained by their actions. Accordingly, Plaintiff seeks a full accounting and
  18
       restitution of Defendants’ enrichment, benefits, and ill-gotten gains acquired as a
  19
       result of the unlawful conduct alleged herein.
  20
                                       PRAYER FOR RELIEF
  21
              WHEREFORE, Plaintiff prays for relief as follows:
  22
                    (a) An Order certifying the proposed Classes under Fed. R. Civ. P. 23(b)(2)
  23
                       and (b)(3), and appointing Plaintiff as Class Representative and her
  24
                       counsel as Class Counsel;
  25
                    (b) An Order declaring that Defendants are financially responsible for
  26
                       notifying members of the Classes of the pendency of this suit;
  27
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       CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 14 of 15 Page ID #:14




   1           (c) An Order declaring that Defendants have committed the violations of
   2              law alleged herein;
   3           (d) An Order providing for any and all injunctive relief the Court deems
   4              appropriate;
   5           (e) An Order awarding monetary damages, including, but not limited to,
   6              any compensatory, incidental, or consequential damages in an amount
   7              to be determined by the Court or jury;
   8           (f) An Order awarding treble damages in accordance with proof and in an
   9              amount consistent with applicable precedent;
  10           (g) An Order awarding interest at the maximum allowable legal rate on the
  11              foregoing sums;
  12           (h) An Order awarding Plaintiff her reasonable costs and expenses of suit,
  13              including attorneys’ fees; and
  14           (i) Such further relief as this Court may deem just and proper.
  15                             DEMAND FOR JURY TRIAL
  16        Plaintiff demands a trial by jury pursuant to Fed. R. Civ. P. 38(b).
  17
  18   Dated: March 15, 2019                 NELSON & FRAENKEL LLP

  19                                         By: /s/ Gretchen M. Nelson, SBN #122566
  20                                             Gretchen M. Nelson, SBN #112566
                                                 Email: gnelson@nflawfirm.com
  21                                             601 South Figueroa Street, Suite 2050
  22                                             Los Angeles, California 90017
                                                 Telephone: (213) 622-6469
  23                                             Facsimile: (213) 622-6019
  24
                                                   Beth E. Terrell, SBN #178181
  25                                               Email: bterrell@terrellmarshall.com
  26                                               Jennifer Rust Murray*
                                                   Email: jmurray@terrellmarshall.com
  27                                               Elizabeth A. Adams, SBN #290029
  28                                               Email: eadams@terrellmarshall.com
                                             13
       CLASS ACTION COMPLAINT
Case 2:19-cv-01940-AB-JEM Document 1 Filed 03/15/19 Page 15 of 15 Page ID #:15




   1                                           TERRELL MARSHALL LAW
                                                GROUP PLLC
   2                                           936 North 34th Street, Suite 300
   3                                           Seattle, Washington 98103
                                               Telephone: (206) 816-6603
   4                                           Facsimile: (206) 319-5450
   5
                                               *pro hac vice application forthcoming
   6
   7                                      Attorneys for Plaintiff

   8
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       CLASS ACTION COMPLAINT
